21
22

23

4 24_

25

26

27

28

CZaSe 8:13-Cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page#l'of 93l Page |D #:3

Anthony W. Rector y

General Delivery

Los Alarnitos, California, 90720
Telephone: 424-702-7996

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

ANTHONY W. RECToR § §V §§ ., § § § ?
P1aimiff, ` ~ y CASE NO
CoMP`LAINT FoR vIoLATioN 011 ‘
, ~ TELEMARKETINGAND THE

v. TELEPHoNE CoNSUMER 1
PRoTECTIoN ACT (TCPA) ,

REC_EIVEABLES PERFoRMANCE . -

MANAGEMENT (RPM) WESTERN

DENTAL sERvICEs INC.~ AND DoEs 1

through lO l130lusive 3 b

mo \. TRIAL BY JURY 'DEMANDED

m ' §

:,`_l Defendant(s),

~':‘* m §

¢._1 y

L.LJ n " 1

"” §§<.§.;: ‘ ,

§§ tv33 §§ JURISDICTION

l_. This 1s an action for damages brought by an individual consumer, against De_fendant(s)
RECEIVEABLES PERFORMANCE MANAGEMENT (RPM), WESTERN DENTAL
SERVICES` INC for violations of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

§§ 227,1@1"5@9.',{11@`1€311 Debt oouections Act, 15 U.s.o,§§,1692, et Séq. g“FDCPA”), and'the

collect a consumer debt. `

3 l

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)

 

 

invasions of Plaintifi" s personal privacy by the Defendant and its agents in their illegal efforts to ~

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24~

25

26

27

28

 

 

I)aSe 8:13-Cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 2 of 9 Page |D #:4

2. Jurisdiction of this Court arises under 28 U.S.C. § 1331.

3. Venue is proper in this District pursuant to 28 U.S.C. §1391.

§ PARTIES
4. Plaintiff, ANTHONY W. RECTOR, is an adult individual residing in Los Alamitos,
California.

5. Plaintiff is a consumer within the meaning of the TCPA and the FDCPA..

6. Defendant,` RECEIVEABLES PERFORMANCE MANAGEl\/IENT (RPM), is a California
corporation with a principal place of business at 20816 44th Ave W., Lynnwood, WA 98036
operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §§

l692a(6) and the California Fair Debt and Collections Practices Act (CFDCPA), California

Civil Code section 1788(1)(2).

FACTUAL ALLEGATIONS
7. At all pertinent times hereto, Defendant was collecting a debt relating to Western Dental
Corporation.
8. The debt at issue arises out of an alleged transaction which was primarily for personal, family,`
or household purposes.
9. At all times material and relevant hereto, Plaintiff did not owe the debt to Defendant, and has
never owed a debt to Defendant. 7
l(). January 12, 2013,' Defendant called Plaintiff’s cellular telephone number 424-288-Xxxx (at
2:12 P.l\/I§) using artificial and/or prerecorded voice technology to coerce payment of the debt,
with the intent to annoy, abuse or harass Plaintiff. Defendant then continued to repeatedly call

Plaintiff’s cellular telephone number on the following dates: January 13th (at 7:l0 A.M.),

2

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)

 

10
1 1
1'2
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

)aSe 8:13-Cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 3 of 9"Page |D #:5

January 13th (at 1228 P.M.), January 15th (at 4:33 P.M.), January'l§th (at 7:32 P.M.), January
lSth (at 5:32 P.M.), January 18th (at 9:24 A.M.), and January 18th (at 7:43 P.l\/I.), January 19th
(at 3:10 P.M.), January 20th (at 9:32 P.M.), January 20th (at 5:20 P.M.), January 20th (at 6112
P.M.), and January 22nd (at 8;10 P.M.), ianuary 22nd (at 8;23 P.M.>, January 22nd (at 3;54 P.M.),
February 4th (at 9:33 P.M.), February 4th (at 9:4l P.M.), February 4th (at l0:02 P.M.), and
February 6th (at 10:24 P.M.), February 6th (at 9:33 A.M.), and February 7th (at ll:24 P.M.),
February 7th (at 3:l8 P.M.), February 8th (at 8:5 l A.M.), and February Sth (at 1146 P.l'\/I‘.).
February 9th (at 1:50 P.M.), February 9th at (3:43 P.l\/I), P.M.), February 9th 2013 ('at 9: 10
A.M.), February 11111“‘ 2013 (at 11;13 A.M.), February 11th 2013 (312:10 P.M.), February 1501
2013 (at 3:30 P.M.), February 15th 2013 (at 7;22 P.M.), February 15th 2013 (at 10;45 P.M.),
February l5th 2013 (at 7:30 A.M.), February 16 th 2013 (at 9:50 A.M.), February 17th 2013 (at
2;14 P.M.), February 17th 2013 (at 7:36 P.M.), February 17th 2013 (at 12;52 P.M.), February 21St
2013 (at 1230 P.M.), February 21St 2013 (at 2:14 P.M.), February 23rd 2013 (at 3:20 P.l\/l.),
February 25th 2013 (at 5;33 P..M.), February 25th , 2013 (at 7;05 P.M.), February 25th 2013 (at
7:49 P.M.), March 7th 2013 (319;20 A.M.), March 3th 2013 (at 10;40 A.M.j, March 9th 2013 (at
11;24 P.M.), March 9th 2013 (at 12;15 A.M.), March 11th 2013 (at 1115 A.M.), Ma;rch 12th 2013
(at 10:45 A.M.), March 13th 2013 (at 8;57 A.M.), Mar@h 14th 2013 (at 3;19 P.M.), March 17th
2013 (at 9:42 A.M.) for total of 51 calls.

ll. Defendant acted in a false, deceptive, misleading and unfair manner by repeatedly
communicating with Plaintiff at inconvenient times.

12. Defendant acted in a false, deceptive, misleading and unfair manner by causing a telephone
to ring with intent to annoy, abuse, or harass any person at the called number.

13. Defendant knew or should have known that their actions violated the TCPA and the FDCPA.

3

 

(COMPLAINT FOR VIOLATICN OF TELEMARKETING AND THE TELEPHONE
` CONSUMER PROTECTION ACT (TCPA)

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ffase 8:13-cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 4 of 9 Page |D #:6

COUNT I-VIOLATIONS OF THE TCPA
14. Plaintiff incorporates the foregoing paragraphs as though the same were set forth
at length herein.
15. At all times relevant hereto, Defendant used, controlled and or operated “automatic telephone
dialing systems” as defined by § 227(a)(1) of the TCPA and the California Fair Debt and `

Collections Practices Act (CFDCPA), California Civil Code section 1788(1)(2).

16. Defendant initiated at least seven (47) telephone calls to Plaintiff` s telephone line using
artificial and or prerecorded voices to deliver messages without the express consent of Plaintiff,
in violation of 47 U.S.C. § § 227 (1)(A)(iii) of the TCPA and the California Fair Debt and

Collections Practices Act (CFDCPA), Califomia Civil Code section 1788(1)(2).

17. The acts and or omissions of Defendant were done unfairly, unlawfully, intentionally,
deceptively and fraudulently and absent bona fide error, lawful right, legal defense justification
or legal excuse.

18. As a result of the above violations of the TCPA, Defendant is liable to Plaintiff in the sum of

Plaintiff’s statutory damages, actual damages, and treble damages

COUNT II-VIOLATIONS OF THE FDCPA
19. Plaintiff incorporates the foregoing paragraphs as though the same were set forth at length
herein.
20. The Defendant caused a phone to ring repeatedly with the intent to annoy and harass, in
violation of 15 U.S.C. § 1692d(5).

21. The Defendant employed false and deceptive means to collect a debt, in violation of 15

4

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Ciase 8:13-cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 5 of 9 Page |D #:7

U.S.C. § 1692e(10).
22. The Plaintiff is entitled to damages as a result of Defendant’s violations.
COUNT III
VIOLATION OF CALIFORNIA FAIR DEBT AND COLLECTIONS
PRACTICES ACT (CFDCPA), CAL. STAT. §1788 BY DEFENDANTS

RECEIVEABLES PERFORMANCE MANAGEMENT (RPM);
WESTERN DENTAL SERVICES INC

23. Plaintiff alleges and incorporates the information in paragraphs l` through 22.
24. Plaintiff is a consumer within the meaning of §1788(1)(2).
25. RPM is a debt collector within the meaning of §1788(1)(2).

26. Defendants violated §1788(1)(2) by claiming, attempting or threatening to enforce a debt

when such persons knew that the debt was not legitimate

COUNT III-INVASION OF PRIVACY -INTRUSION UPON SECLUSION
27. Plaintiff incorporates the foregoing paragraphs as though the same were set forth at
length herein
28. Defendant invaded the privacy of Plaintiff by unreasonably intruding upon his seclusion by
calling his personal telephone and leaving messages in relation to a debt that Plaintiff did not
owe to Defendant.
29. Defendant intruded, physically or otherwise, upon to solitude and or seclusion of Plaintiff in
a manner which was highly offensive to Plaintiff and other reasonable persons if Same should be
in similar positions

30. Defendant’s intentional intrusions, physical or otherwise, upon the solitude and or seclusion
5

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)

 

 

 

10
11
12
13
14
1_5
16
17
18
19
20
21
22
23
24
25
25
27

28

 

 

flase 8:13-cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 6 of 9 Page |D #:8

of Plaintiff were substantial and highly offensive.
31. As a direct and proximate cause of the telephone calls that harassed, annoyed and abused
Plaintiff, Defendant disturbed the peace and tranquility of his horne, invaded Plaintiff`s privacy
and intruded upon his seclusion, was a substantial factor in bringing about the serious injuries,
damages and harm to Plaintiff that are outlined more fully above and, as a result, Defendant is
liable to compensate Plaintiff for the full amount of actual, compensatory and punitive 'damages,
as well as such other relief, permitted under the law.

JURY TRIAL DEMAND
32. Plaintiff demands trial by jury on all issues so triable.

PRAYER F()R RELIEF

WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:
(a) Actual damages; pursuant to 15 U.S.C. § l692k; and the California F air Debt and
Collections Practices Act (CFDCPA), California Civil Code section 1788(1)(2).
(b) Statutory damages; pursuant to 15 U.S.C. § 1692k; and the California F air Debt and

Collections Practices Act (CFDCPA), California Civil Code section 1788(1)(2).

6

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
CONSUMER PROTECTION ACT (TCPA)

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

A

jase 8:13-cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 7 of 9 Page |D #:9

(c) Punitive damages;
(d) Treble damages;

(e) Such other and further relief s may be just and proper.

DATED; /2/%// z

j
Respe tfully siibmitted,

     

 

Anthony W. Rector '
In Pro Per

7

 

(COMPLAINT FOR VIOLATION OF TELEMARKETING AND THE TELEPHONE
C()NSUMER PROTECTION ACT (TCPA)

 

 

 

Case 8:13-cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 8 of 9 Page |D #:10

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL CovER SHEET `

 

I (a) PLAlNTIFFS (Check box if you are representing yourself Uf)
ANTHONY W. RECTOR

DEFENDANTS
RECEIVEABLES PERFORMANCE MANAGEMENT (RPM); WESTERN

DENTAL SERVICES INC.; AND DOES l through 10 Inclusive

 

(b) Attorneys (Firm Name, Address and Telephone Number. lf you are representing
yourself, provide same.)
Anthony W. Rector
General Delivery
Los Alamitos, Califomia, 90720, 424-702-7996

Attorneys (If Known)
NOTB KNOWN

 

 

II. BASIS OF JURISDICTION (Place an X in one box only.) III. CITIZENSHIP OF PRlNCIPAL PARTIES - For Diversity Cases Only

(Place an X in one box for plaintiff and one for defendant.)
213 Federai Quesrion (U.s`

 

§ l U.S. Government Plaintiff IQ`F DEF PTF D F
Govemment Not a Party) Citizen of This State 1 § l Incorporated or Principal Place § 4 4
of Business in this State
§ 2 U.S. Govemment Defendant § 4 Diversity (Indicate Citizenship Citizen of Another State § 2 § 2 Incorporated and Principal Place § 5 § 5
of Parties in Item III) of Business in Another State
Citizen or Subject of a Foreign Country § 3 § 3 Foreign Nation § 6 § 6

 

IV. ORIGlN (Place an X in one box only.)

N(l Original § 2 Removed from § 3 Remanded from § 4 Reinstated or § 5 Transferred from another district (specify): § 6 Multi- § 7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: E(Yes § No (Check ‘Yes’ only if demanded in complaint.) .
CLAss ACTIoN under F.R.C,P. 23: 1:1 Yes 1§{ N<> 1111 MoNEY I)EMANDED IN CoMPLAINr; s $76,000

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
TCPA & FDCPA VIOLATIONS

VII. NATURE OF SUlT (Place an X in one box only.)

 

 

       
  

     

 
    

  
 
   

 

  
 

 

 

    

 

orH`ER `sTATUTE`S` , ,, , j coNTI<Acr Tca’rs j rents

§ 400 State Reappomonment § 110 insurance PERSONAL INJURY PERSONAL … , _ Fair Labor Standards`

111 410 Amitrust § 120 Marine E 310 Airplan€ PROPERTY 13 510 Motions to Act

§ 430 Banks and Banking § 130 Miller Act m 315 Airl>lane Pr°du€t § 370 Other Fraud Vacate Sentence § 720 Labor/Mgmt.

§ 450 Commerce/'ICC § 140 Negotiable Instrument Liability _ § 371 Truth in Lending Habeas Corpus Relations
Rares/erc. m 150 Recovery of 5 320 ASSaulf, le@l & m 380 other Personai 1:1 530 Generhi 1;1 730 Lab<>r/Mgmt.

§ 460 Deportation Overpayment & Slander 7 Propexty Damage § 535 Death Penalty Reporting &

§ 470 Racketeer Influenced Enforcement of m 330 F§d' _Empl°yers § 385 Property Darnage § 540 Mandamus/ Disclosure Act
and Corrupt Judgment E 340 Il\“/}::;l]:y P_ro_duct Liabili Other § 740 Railway Labor Act
Organizations § 151 Medicare Act E 345 Marine Product ` § 550 Civil Rights § 790 Other Labor

§(480 Consumer Credit § 152 Recovery of Defaulted Liability § 422 Appeal 28 USC § 555 Prison Conditi Litigation

§ 490 Cable/Sat TV Student Loan (Excl. m 350 Motor Vehicle 158 / § 791 Empl. Ret. Inc.

§ 810 Selective Service Veterans) m 355 Mmor Vehl-cle § 423 Withdrawa128 Security Ac_t

§ 850 Securities/Commodities/ § 153 Recovery of Pmduct Liability 6 USC/157 w m Agriculture w _
Exchange Overpayment of m 360 Other Personal § vCIVI119v_`RI€x__ij-I'l_`_$l ;.;` § 620 Other Food & § 820 Copyrights

§ 875 Customer Challenge 12 Veteran’s Benefits klqu § 441 Voting Drug § 830 Patent
USC 3410 § 160 Stockholders’ Suits g 362 personal lnjury_ § 442 Employment § 625 Drug Related § 840 Trademark

§ 890 Other Statutory Actions § 190 Other Contract Med Majpractice § 443 Housing/Acco- Seizure of `

§ 891 Agricultural Act § 195 Contract Product g 365 Persona} lnjury_ mmodations Property 21 USC § 861 HIA (1395ft)

§ 892 Economic Stabilization Liability Product Liability § 444 Welfare 881 § 862 Black Lung (923)
Act § 196 Franchise d d § 368 Asbestos Personal § 445 American with § 630 Liquor Laws 1 § 863 DlWC/DIWW

§ 893 Environmental Matters ' REAL PROPER'IY ‘ Injury Product ' 'Disabilities - § 640 R.R`. &Truck (405(g))

§ 894 Energy Allocation Act § 210 Land Condemnation Liability Employment §~650 Airline Regs § 864 SSID Title XVI

§ 895 Freedom oflnfo. Act § 220 Foreclosure IMMIGRATION ` *" § 446 American Wit_h § 660 Occupational § 865 RSI (405(§,'))S

§ 900 Appeal of Fee Deterini- § 230 Rent Lease & Ejectment 5 462 Nafuralizafion Disabilities - Safety /Health _
nation Under Equal § 240 Torts to Land APPhCaUOn Other § 690 Other § 870 Taxes (U. S Plaintiff
Access 10 iusrice m 245 ron Producr Liabiiiiy 13 463 H'<l_beas COFPHS» m 440 other civil or Defendam)

m 950 constimionahry of m 290 A11 oiher neal Pmpercy Ahen D€tal,ne¢. nights m 871 1Rs-Third Parcy 26
State Statute$ § 465 ;)'d;er Iinmigration USC 7609

C lOnS

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number: § §

 

0715

 

 

87777111777

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION NREQUESTED BELOW.

 

CV-7l (05/08)

CIVIL COVER SHEET

Page 1 of 2_

Case 8:13-Cv-01897-UA-DUTY Document 1-1 Filed 12/04/13 Page 9 of 9 Page |D #:11

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |§(No § Yes

If yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? |Y{No § Yes

Ifyes, list case number(s):

 

Civil 'cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) § A. Arise from the same or closely related transactions, happenings, or events; or v
§ B. Call for determination of the same or substantially related or similar questions of law and fact; or
§ C. For other reasons would entail substantial duplication of labor if heard by different judges; or

§ D. Involve the same patent, trademark or copyright, gi_d_ one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information, use an additional sheet if nccessary.)

(a) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in Which EACH named plaintiff resides

§ Check here if the government, its agencies or employees is a named plaintiff lf this box is checked, go to item (b).

 

County in this District:*

California County outside of this District; State, if other than California', or Foreign Country

 

ORANGE

 

(b) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides
§ Check here if the govemment, its agencies or employees is a named defendant lt` this box is checked, go to item (c).

 

County in this District:*

California County outside of this District; State, if other than California; or Foreign Country

 

ORANGE

 

 

 

 

(c) List the County iri this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.

Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:*

California County outside of this District; State, if other than Califomia; or Foreign Country

 

ORANGE

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ve ura, S
Note: In land condemnation cases use the location of th tract of and inv lve

244 42 %a%te

X. SIGNATURE OF ATTORNEY (OR PRO PER):

  
 
 
 

ta Barbara, or San Luis Obisy€()untie

/

/

/Z//<///§

Notice to Counsel/Parties: The CV~71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions7 see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HIA

BL

DIWC

DIWW

SSID

RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities7 etc., for certification as providers of services under the
program (42 U.S.C. l935FF(b))

All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Healtli and Safety Act of 1969.

(30 U,S.C. 923)

All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Security Act, as

amended; plus all claims filed for child’s insurance benefits based on disability (42 U,S.C, 405(g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security

Act, as amended

(42 U.S.C. 405(g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security

Act, as amended

All claims for retirement (oid age) and survivors benefits under Title 2 of the Social Security Act, as amended (42

U.S.C, (g))

 

CV-7l (05/08)

CIVIL COVER SHEET

Page 2 of 2

